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                      EXHIBIT 113
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     Pursuant to Court Order Dated October 28, 2016 (Dkt No. 141)
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                              DEPOSITION OF GENE DEETZ


     1                    UNITED STATES DISTRICT COURT
     2                   CENTRAL DISTRICT OF CALIFORNIA
     3
     4
     5    GOLDEN BOY PROMOTIONS, LLC, )
          GOLDEN BOY PROMOTIONS, INC.,)
     6    AND BERNARD HOPKINS,        )
                                      )
     7                  PLAINTIFFS,   )
                                      )
     8        VS.                     ) CASE NO.
                                      ) 2:15-CV-03378
     9    ALAN HAYMON, ALAN HAYMON    ) JFW (MRWX)
          DEVELOPMENT, INC., HAYMON   )
   10     HOLDINGS, LLC, HAYMON       )
          SPORTS, LLC, HAYMON BOXING )
   11     MANAGEMENT, HAYMON BOXING, )
          LLC, AND RYAN CALDWELL,     )
   12                                 )
                        DEFENDANTS.   )
   13     ____________________________)
   14
   15
   16
   17                 DEPOSITION OF GENE DEETZ, TAKEN ON
   18                 BEHALF OF THE DEFENDANTS, AT 865
   19                 SOUTH FIGUEROA STREET, TENTH FLOOR,
   20                 LOS ANGELES, CALIFORNIA, COMMENCING
   21                 AT 9:07 A.M., WEDNESDAY, OCTOBER 19,
   22                 2016, BEFORE TRACY M. FOX, CSR NUMBER
   23                 10449.
   24
   25
                                                                            2


                 DEFENDANTS’ SUMMARY JUDGMENT NO. 113
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                                   DEPOSITION OF GENE DEETZ

10:10:20    1   THAT IN 2014, I HAD A SIGNIFICANT NUMBER OF
10:10:23    2   CHAMPIONSHIP-CALIBER FIGHTERS THAT WERE IN MY -- THAT
10:10:26    3   WERE IN GOLDEN BOY'S P & L, THAT WERE NOT UNDER
10:10:28    4   CONTRACT TO GOLDEN BOY.
10:10:31    5   BY MR. WOLFSON:
10:10:31    6              Q.    UH-HUH.
10:10:32    7              A.    AND THAT NUMBER HAS RADICALLY DECLINED
10:10:34    8   IN 2015 AND DECLINED AGAIN IN 2016.




10:11:16   20              Q.    AND ARE YOU AWARE OF ANY INCIDENCES --
10:11:20   21   EXCUSE ME.
10:11:21   22                    ARE YOU AWARE OF ANY INCIDENTS OR
10:11:23   23   FACTS SUPPORTING THE CONCLUSION THAT GOLDEN BOY WAS
10:11:31   24   PREVENTED FROM ENTERING INTO A CONTRACT WITH A
10:11:37   25   CHAMPIONSHIP-CALIBER BOXER DUE TO THE DEFENDANTS'
                                                                                74


                      DEFENDANTS’ SUMMARY JUDGMENT NO. 113
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                              DEPOSITION OF GENE DEETZ


     1    STATE OF CALIFORNIA            )
                                         )   .SS
     2    COUNTY OF LOS ANGELES          )
     3
     4              I, TRACY M. FOX, CERTIFIED SHORTHAND
     5    REPORTER, CERTIFICATE NUMBER 10449, FOR THE STATE
     6    OF CALIFORNIA, HEREBY CERTIFY:
     7              THE FOREGOING PROCEEDINGS WERE TAKEN
     8    BEFORE ME AT THE TIME AND PLACE THEREIN SET FORTH,
     9    AT WHICH TIME THE DEPONENT WAS PLACED UNDER OATH
   10     BY ME;
   11               THE TESTIMONY OF THE DEPONENT AND ALL
   12     OBJECTIONS MADE AT THE TIME OF THE EXAMINATION
   13     WERE RECORDED STENOGRAPHICALLY BY ME AND WERE
   14     THEREAFTER TRANSCRIBED;
   15               THE FOREGOING TRANSCRIPT IS A TRUE AND
   16     CORRECT TRANSCRIPT OF MY SHORTHAND NOTES SO TAKEN;
   17               I FURTHER CERTIFY THAT I AM NEITHER
   18     COUNSEL FOR NOR RELATED TO ANY PARTY TO SAID
   19     ACTION, NOR IN ANY WAY INTERESTED IN THE OUTCOME
   20     THEREOF.
   21               IN WITNESS WHEREOF, I HAVE HEREUNTO
   22     SUBSCRIBED MY NAME THIS 24TH DAY OF OCTOBER, 2016.
   23
   24
   25                           ________________________________
                                                                          350


                 DEFENDANTS’ SUMMARY JUDGMENT NO. 113
